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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF GEORGIA

  In re:                                        )
                                                )       Chapter 11
  SEA ISLAND COMPANY, et al.,                   )
                                                )       Case No. 10-21034 - MJK
                                                )       Jointly Administered
                  Debtors.                      )
                                                )       Judge Michele J. Kim
                                                )

                            MOTION FOR APPROVAL OF SALE
                      OF THE LIQUIDATION TRUST’S INTEREST IN THE
                          TURK PROPERTY TO COTTAGE 429, LLC

           Robert H. Barnett, as the Liquidation Trustee (the “Liquidation Trustee”) under the Sea

  Island Company Creditors Liquidation Trust (the “Liquidation Trust”), files the Motion for

  Approval of Sale of the Liquidation Trust’s Interest in the Turk Property to Cottage 429, LLC

  (the “Motion”).     In support of the Motion, the Liquidation Trustee shows the Court the

  following:

                                           JURISDICTION

           1.     The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

  1334. Venue is proper in this Court pursuant to 28 U.S.C. § 1408. This matter is a core

  proceeding within the meaning of 28 U.S.C. § 157(b).

           2.     The legal predicate for the requested relief is section 363 of title 11 of the United

  States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).




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                                          BACKGROUND

                                 The Filing of the Bankruptcy Cases
                             and Appointment of the Liquidation Trustee

         3.      The above-referenced debtors (the “Debtors”) filed their voluntary petitions for

  relief under Chapter 11 of the Bankruptcy Code on August 10, 2010.

         4.      On September 24, 2010, the Debtors filed their Amended and Restated Joint

  Chapter 11 Plan as of August 10, 2010 [Bankr. Docket No. 217] (the “Plan”), which was

  confirmed pursuant to an order entered on or about November 8, 2010 [Bankr. Docket No. 372]

  (the “Confirmation Order”).

         5.      The Trust Agreement of Sea Island Company Creditors Liquidation Trust (the

  “Trust Agreement”) dated December 15, 2010, incorporated by reference in the Confirmation

  Order, approved Robert H. Barnett as the Liquidation Trustee. See Bankr. Docket No. 449-1.

                                 The Role of the Liquidation Trustee

         6.      One of the purposes of the Liquidation Trust is to marshal, liquidate, and sell

  Trust Assets (as defined in the Trust Agreement). See Trust Agreement § 2.3(a).

         7.      The Liquidation Trustee is expressly empowered “to manage, liquidate, sell,

  assign, transfer, or deal in any other manner with the Trust Assets or any part thereof or any

  interest therein, and to sell and dispose of the Trust Assets for cash or upon such terms and for

  such consideration as the Trustee deems proper in its discretion.” See id. at § 4.4(vi).

         8.      Unless otherwise specified in the Plan or the Trust Agreement, the Liquidation

  Trustee “need not obtain the order or approval of the Bankruptcy Court in the exercise of any

  power, rights, or discretion conferred” pursuant to the Trust Agreement. See id. at § 4.3(a).




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            9.      In his discretion and judgment, the Liquidation Trustee may, however, seek

  explicit approval of the Bankruptcy Court of proposed action to be taken by the Liquidation

  Trustee with regard to the Trust Assets. See id. at § 4.3(b). Indeed, the Trust Agreement

  specifically grants the Liquidation Trustee “the power and authority to seek Bankruptcy Court

  approval to sell any Trust Asset . . ..” See id. at § 4.3(d) (emphasis added).

            10.     The Trust Agreement is explicit that the Liquidation Trustee has no implied

  obligations. See Trust Agreement § 5.6.

            11.     Based on the foregoing, the Court previously entered an order stating that the

  “Plan and Trust Agreement do not require the Liquidation Trustee to obtain the Court’s

  approval” of a sale. See In re Sea Island Co., Case No. 10-21034, Bankr. Docket No. 1594, at

  *1 (Bankr. S.D. Ga. July 27, 2016)1 (B.J., Dalis) (emphasis added).

                                  The Background as to the Proposed Sale

            12.     The Turk Property (as defined in the Sale Agreement, which is defined below) is

  an unimproved marsh-front parcel of real property. Pictures are attached as Exhibits “A-1”

  through “A-4,” and a survey of the property is attached to the deed, which is attached to the Sale

  Agreement. Cottage 429, LLC (the “Buyer”) has made various representations and warranties

  regarding access to the Turk Property and its suitability for development. See Sale Agreement ¶

  f.

            13.     As background, the Buyer initially approached the Liquidation Trustee about

  buying the Turk Property. While the Liquidation Trustee has not subsequently marketed the

  Turk Property, he talked to a real estate developer about purchasing it. At first, the developer

  was very interested in the property. After the developer’s lawyer—who practices at a prominent

  1
       Such order was entered on negative notice, and no parties filed an objection to it.

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  Atlanta law firm—started conducting due diligence, however, such developer’s enthusiasm

  waned considerably. The developer advised the Liquidation Trustee that he is only interested in

  the Turk Property if the deal with the Buyer falls through.

         14.     The Buyer has also made a representation and warranty that it owns an adjoining

  lot.2 See id. at ¶ f. Upon information and belief, the Buyer wishes to buy the Turk Property to

  reduce the chance that it is developed thereby potentially obstructing the view of the marsh from

  its property.3 Based on the foregoing, in an exercise of his business judgment, the Liquidation

  Trustee has decided to go forward with the sale of the Turk Property to the Buyer without

  marketing the property or conducting any further due diligence.

                                      THE PROPOSED SALE

         15.     Pursuant to the letter agreement attached as Exhibit “B” (the “Sale Agreement”),4

  the Buyer has agreed to buy, and the Liquidation Trustee has agreed to quitclaim, any interest of

  the Liquidation Trust in the Turk Property with no representations or warranties whatsoever on

  an “as is,” “where is,” and “with all faults” basis in exchange for the payment of $66,000.00 (the

  “Payment”) to the Liquidation Trustee (collectively, the “Sale”). See Sale Agreement ¶ a.

         16.     On September 5, 2017, the Sale Agreement was executed by the Buyer and—

  consistent with paragraph b of the Sale Agreement—the Buyer wired $66,000.00 of readily

  available funds to an account of the Liquidation Trustee. See Sale Agreement ¶ b.

         17.     Upon the Approval Order (as defined in the Sale Agreement) becoming a Final

  Order (as defined in the Plan), the Liquidation Trustee shall be immediately entitled to retain the



  2
     Such lot is depicted in Exhibit “A-1.”
  3
     The view from such adjoining lot is set forth in Exhibit “A-4.”
  4
    The description of the Sale Agreement contained in this Motion is a summary. In all events,
  the terms set forth in the Sale Agreement shall control.

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  Payment in the amount of $66,000.00 on an irrevocable, unavoidable basis without the need for

  any further order by the Bankruptcy Court or action by any other person. See Sale Agreement ¶

  c.

                                       RELIEF REQUESTED

         18.     The Liquidation Trustee requests that the Court enter an order approving the Sale

  and the Sale Agreement in substantially the same form as the proposed order attached as Exhibit

  “C.”

                                BASES FOR RELIEF REQUESTED

         19.     Section 363(b)(1) of the Bankruptcy Code provides that, after notice and a

  hearing, a trustee may sell property of the estate outside of the ordinary course of business. See

  11 U.S.C. § 363(b)(1).      In this district, the issue is whether the “[t]rustee exercised sound

  business judgment, as determined by his articulation of a good-faith basis for recommending the

  sale for the price offered and by his employment of adequate procedures in procuring the offer . .

  ..” See In re Stuart, No. 02-43724, 2003 WL 26099304, at *2 (Bankr. S.D. Ga. May 2, 2003)

  (approving trustee’s sale of real property).

         20.     This inquiry essentially amounts to a “business judgment test,” see In re Tom's

  Foods, Inc., No. 05-40683 RFH, 2005 WL 3022022, at *2 (Bankr. M.D. Ga. Sept. 23, 2005)5,

  with a trustee’s “judgment on the sale and the procedure for the sale” being “entitled to respect

  and deference from the Court, so long as the burden of giving sound business reasons is met,”

  see Stuart, 2003 WL 26099304, at *3; see also In re Diplomat Constr., Inc. 481 B.R. 215, 219

  (Bankr. N.D. Ga. 2012) (recognizing that trustee’s judgment on sale was “entitled to respect and


  5 See In re Bryan, No. 12-31486, 2013 WL 4716194, *2 (Bankr. M.D. Ala. Sep. 3, 2013) (“The
  trustee’s sale of estate property, and this his acceptance of any bid, is governed by the business
  judgment rule.”).

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  deference from the Court” and approving sale); In re Gulf States Steel Inc. of Ala., 285 B.R. 497,

  514 (Bankr. N.D. Ala. 2002) (same).

         21.     Deference is even more appropriate here given that the Trust Agreement provides

  for such deference. Specifically, it expressly empowers the Liquidation Trustee to “sell and

  dispose of the Trust Assets for cash or upon such terms and for such consideration as the Trustee

  deems proper in its discretion.” See Trust Agreement § 4.4(vi) (emphasis added). Indeed, as the

  Court previously ruled, the Liquidation Trustee does not need to obtain court approval to sell the

  property. See Motion ¶11.

         22.     In an exercise of his business judgment, the Liquidation Trustee believes that the

  Sale is in the best interests of the Liquidation Trust and the Beneficiaries (as that term is defined

  in the Trust Agreement). While the Liquidation Trustee contends that the Turk Property could

  be very valuable, there is, among other things, a thin market for such property.

         23.     Under the circumstances, the Liquidation Trustee submits that the Approval Order

  should be entered on negative notice. Sales outside of the ordinary course of business generally

  require “notice and a hearing.” See 11 U.S.C. § 363(b)(1). “But Bankruptcy Code § 102 defines

  ‘notice and a hearing’ as authorizing an act without a hearing as long as notice is given and no

  party in interest requests a hearing.” In re Stanton, Case No. 8:11-bk-22675, 2017 WL 587983,

  *4 (Bankr. M.D. Fla. Feb. 2, 2017).6 And granting the requested relief on negative notice here is

  appropriate given that, as the Court has previously recognized, court approval is not even




  6
    See also Roberts v. Pierce (In re Pierce), 435 F.3d 891, 892 (8th Cir. 2006) (discussing 11
  U.S.C. § 102(1)(B)(i) and concluding: “[n]egative notices are therefore authorized by the
  Code.”) (citation omitted); Morlan v. Universal Guar. Life Ins. Co., 298 F.3d 609, 617-18 (7th
  Cir. 2002) (“A requirement of ‘notice and a hearing’ really means notice and the opportunity for
  a hearing.”) (emphasis in the original).

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  required,7 the potential for avoiding the cost and expense of a hearing8 (especially given the

  relatively small amount of money involved in the sale), and the deferential standard for

  approving the sale.9 And it is entirely consistent with how the Court has granted all of the sale

  motions filed by the Liquidation Trustee in the past.10 See In re Sea Island Co., Case No. 10-

  21034, Bankr. Docket No. 1675 (Bankr. S.D. Ga. Sep. 26, 2016); In re Sea Island Co., Case No.

  10-21034, Bankr. Docket Nos. 1674-1 (Bankr. S.D. Ga. Sep. 26, 2016); In re Sea Island Co.,

  Case No. 10-21034, Bankr. Docket No. 1594 (Bankr. S.D. Ga. July 27, 2016).




                            [remainder of page intentionally left blank]




  7
     See Motion ¶ 11.
  8
     See Fed. R. Bankr. P. 1001 (“These rules shall be construed to secure the just, speedy, and
  inexpensive determination of every case and proceeding.”) (emphasis added).
  9
     See Motion ¶¶ 19-21.
  10
      It is also consistent with how the Court has granted settlement motions filed by the
  Liquidation Trustee. See, e.g., In re Sea Island Co., Case No. 10-21034, Bankr. Docket No.
  1484 (Bankr. S.D. Ga. Jan. 28, 2016).

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         WHEREFORE, Robert H. Barnett as the Liquidation Trustee respectfully requests that

  the Court enter an order substantially in the form attached as Exhibit “B” and grant such other

  and further relief as the Court may deem just and proper.

  Dated: September 7, 2017.


                                                      /s/ Robert M.D. Mercer
                                               Robert M.D. Mercer
                                               Georgia Bar No. 502317
                                               SCHULTEN WARD TURNER & WEISS LLP
                                               260 Peachtree Street, Suite 2700
                                               Atlanta, Georgia 30303
                                               (404) 688-6800 Telephone
                                               (404) 688-6840 Facsimile

                                               Counsel for Robert H. Barnett as the
                                               Liquidation Trustee under the Sea Island
                                               Company Creditors Liquidation Trust




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                                  EXHIBIT “A”




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                                EXHIBIT “A-1”




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                                EXHIBIT “A-2”




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                                EXHIBIT “A-3”




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                                EXHIBIT “A-4”




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                                 EXHIBIT “B”




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                                     ROBERT H. BARNETT
                                 The Liquidation Trustee under the
                          Sea Island Company Creditors Liquidation Trust
                              1075 Peachtree Street, N.E., Suite 3675
                                      Atlanta, Georgia 30309

 September 1, 2017


 Cottage 429, LLC
 Attn: Susan Turk Spratt, Chief Executive Officer
 c/o David W. Cranshaw, Esq.
 Morris, Manning & Martin, LLP
 1600 Atlanta Financial Center
 3343 Peachtree Road, NE
 Atlanta, Georgia 30326

 Re:     In re Sea Island Company, et al., Chapter 11 Bankruptcy; United States
         Bankruptcy Court for the Southern District of Georgia (the “Bankruptcy
         Court”); Case No. 10-21034-JSD

 Dear Ms. Spratt:

        I have set forth below the terms for the agreement between Robert H. Barnett as the
 Liquidation Trustee (the “Liquidation Trustee”) under the Sea Island Company Creditors
 Liquidation Trust (the “Liquidating Trust”) in the above-referenced jointly administered
 bankruptcy cases pending in the Bankruptcy Court on the one hand and Cottage 429, LLC
 (“Cottage”), a Georgia limited liability company, on the other hand. The Liquidation Trustee and
 Cottage shall be collectively referred to as the “Parties” and individually as a “Party.” The
 agreement set forth in this letter shall be referred to as the “Agreement.”

         a.     Subject to the Approval Order (as defined below) becoming a Final Order (as that
 term is defined in the Debtors’ Amended and Restated Joint Chapter 11 Plan as of August 10,
 2010 [Bankr. Doc. No. 217]), Cottage agrees to pay the Liquidation Trustee $66,000.00 (the
 “Payment”), and the Liquidation Trustee agrees to sell and transfer to Cottage, or its assignee, the
 Turk Property (as defined below) in exchange for the Liquidation Trustee retaining such payment.
 The foregoing shall occur as set forth below.

         b.     Upon the execution of the Agreement, Cottage shall cause the Payment of readily
 available funds to be transferred into the account of the Liquidation Trustee set forth on Exhibit
 “1.” The Liquidation Trustee shall hold such funds in escrow in accordance with the Agreement.
 To the extent not addressed in the Agreement, the funds shall be subject to direction by an order
 entered by the Bankruptcy Court. The Liquidation Trustee shall have no liability, and shall be



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                                                                  Cottage 429, LLC
                                                            Attn: Susan Turk Spratt
                                                             Chief Executive Officer
                                                      c/o David W. Cranshaw, Esq.
                                                    Morris, Manning & Martin, LLP
                                                                  September 1, 2017
                                                                             Page 2

 exculpated, for complying with the terms of the Agreement or an order entered by the Bankruptcy
 Court.

        c.     Upon receipt of the Payment, the Liquidating Trustee shall promptly file the
 Motion for Approval of Sale of the Liquidation Trustee’s Interest in the Turk Property to Cottage
 429, LLC, a copy of which is attached hereto as Exhibit “2.”

        d.       The “Approval Order” shall mean an order entered by the Bankruptcy Court,
 which, among other things, approves the Liquidation Trustee’s execution and delivery of the
 Quitclaim Deed (as defined below). Upon the Approval Order becoming a Final Order, the
 Liquidation Trustee shall be immediately entitled to retain the Payment on an irrevocable,
 unavoidable basis without the need for any further order by the Bankruptcy Court or action by
 any other entity (as that term is defined in the Bankruptcy Code).

         e.      The “Turk Property” shall mean the Liquidation Trustee’s interest in that certain
 tract or parcel of land lying and being on Sea Island, Glynn County, Georgia and identified and
 described in the legal description attached to the quitclaim deed attached as Exhibit “3” (the
 “Quitclaim Deed”). The Liquidation Trustee makes no representations, warranties, or the like in
 connection with the Turk Property. The sale of the Turk Property shall be on an “as is,” “where
 is,” and “with all faults” basis.

          f.     Cottage represents and warrants the following: (i) as shown on the survey, which
 is part of Exhibit “A” to Exhibit “3”, the Turk Property can only be accessed through the
 adjoining Lot 4, Block 96, Sea Island Subdivision No. 1, Extension No. 1, which is currently
 owned by Cottage, or the salt marsh; (ii) the Debtors in the above referenced bankruptcy case
 (“Debtors”) developed the Turk Property to dump construction waste with dumping starting
 around 1960 and continuing until 1970 when the Coastal Marshlands Protection Act of 1970, see
 O.C.G.A. § 12-5-280 et seq., was enacted; (iii) the Turk Property contains a great deal of organic
 fill including tree stumps and other construction waste dumped there by the Debtors during
 construction of properties on Sea Island, Georgia; (iv) the dumping of large amounts of
 construction waste onto the Turk Property was confirmed by former employees of the Debtors
 and a resident of Sea Island, Georgia with knowledge of the matter; (v) to the best of its
 knowledge and belief, former employees of the Debtors believed that the Turk Property was
 unsuitable for development because it contained so much organic fill and construction waste and
 indicated that soil compaction tests would need to be performed to confirm; and (vi) to the best of
 its knowledge and belief, no soil compaction tests have been performed on the Turk Property.


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                                                                  Cottage 429, LLC
                                                            Attn: Susan Turk Spratt
                                                             Chief Executive Officer
                                                      c/o David W. Cranshaw, Esq.
                                                    Morris, Manning & Martin, LLP
                                                                  September 1, 2017
                                                                             Page 3

 Cottage acknowledges that the Liquidation Trustee is justifiably and detrimentally relying on such
 representations and warranties. Such representations and warranties shall survive closing.

         g.     The Liquidation Trustee shall execute the Quitclaim Deed and deliver it to Cottage
 or its representative. For the avoidance of doubt and all other provisions of the Agreement
 notwithstanding, after the Approval Order becomes a Final Order, the execution and delivery of
 the Quitclaim Deed shall satisfy all of the Liquidation Trustee’s obligations under the Agreement,
 and Cottage shall be authorized to record the Quitclaim Deed.

           h.     Both Parties agree to do all things reasonably necessary to timely and in good faith
 fulfill the terms of the Agreement.

         i.      Without reliance on any promise or representation by the Liquidation Trustee,
 Cottage agrees to these terms based upon its own informed determination of title including, but
 not limited to, any and all encumbrances, which affect or may affect title.

         j.      The Parties shall each bear their respective attorneys’ fees, expenses, and costs
 relating to or associated with the Agreement.

         k.      The Agreement may not be revised, superseded, or otherwise modified except in a
 written document that (i) explicitly refers to the Agreement, (ii) states explicitly therein that the
 writing is intended to modify the Agreement, and (iii) is signed by the Parties.

          l.  No provision of this Agreement is intended to confer any rights or remedies under
 the Agreement upon any entity (as that term is defined in the Bankruptcy Code) other than the
 Parties.

        m.     Each Party warrants and represents to the other Party that it is authorized to
 execute the Agreement and has full power and authority to enter into the Agreement and that the
 Agreement is duly executed and delivered and constitutes a valid, binding agreement in
 accordance with its terms.

          n.     Each Party warrants and represents to the other Party that it is sophisticated and
 that its counsel has helped draft the Agreement. As a consequence, the Parties do not intend that
 the presumptions relating to the interpretation of contracts against the drafter should be applied to
 the Agreement and, therefore, waive the effects of such presumption. Each Party warrants and
 represents to the other Party that it has independently conducted its own diligence in connection
 with entering into the Agreement and is not relying upon any warranty, promise, or representation
 by the other Party unless explicitly set forth in the Agreement.

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                                 EXHIBIT “1”




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                                  Wiring Instructions:
                            Account of the Liquidation Trustee


 Bank Name:                        SunTrust Bank
 Bank Address:                     3300 Northside Parkway NW, Atlanta, GA 30327
 Wire Routing Number:              061000104
 Beneficiary Account Name:         Sea Island Company Creditors Liquidation Trust
 Beneficiary Account Number: 1000143424736
 Beneficiary Address:              1075 Peachtree Street, Suite 3675, Atlanta, GA 30309




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                                 EXHIBIT “2”




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA

 In re:                                        )
                                               )       Chapter 11
 SEA ISLAND COMPANY, et al.,                   )
                                               )       Case No. 10-21034 - MJK
                                               )       Jointly Administered
                 Debtors.                      )
                                               )       Judge Michele J. Kim
                                               )

                           MOTION FOR APPROVAL OF SALE
                     OF THE LIQUIDATION TRUST’S INTEREST IN THE
                         TURK PROPERTY TO COTTAGE 429, LLC

          Robert H. Barnett, as the Liquidation Trustee (the “Liquidation Trustee”) under the Sea

 Island Company Creditors Liquidation Trust (the “Liquidation Trust”), files the Motion for

 Approval of Sale of the Liquidation Trust’s Interest in the Turk Property to Cottage 429, LLC

 (the “Motion”).     In support of the Motion, the Liquidation Trustee shows the Court the

 following:

                                          JURISDICTION

          1.     The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

 1334. Venue is proper in this Court pursuant to 28 U.S.C. § 1408. This matter is a core

 proceeding within the meaning of 28 U.S.C. § 157(b).

          2.     The legal predicate for the requested relief is section 363 of title 11 of the United

 States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).




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                                         BACKGROUND

                                The Filing of the Bankruptcy Cases
                            and Appointment of the Liquidation Trustee

        3.      The above-referenced debtors (the “Debtors”) filed their voluntary petitions for

 relief under Chapter 11 of the Bankruptcy Code on August 10, 2010.

        4.      On September 24, 2010, the Debtors filed their Amended and Restated Joint

 Chapter 11 Plan as of August 10, 2010 [Bankr. Docket No. 217] (the “Plan”), which was

 confirmed pursuant to an order entered on or about November 8, 2010 [Bankr. Docket No. 372]

 (the “Confirmation Order”).

        5.      The Trust Agreement of Sea Island Company Creditors Liquidation Trust (the

 “Trust Agreement”) dated December 15, 2010, incorporated by reference in the Confirmation

 Order, approved Robert H. Barnett as the Liquidation Trustee. See Bankr. Docket No. 449-1.

                                The Role of the Liquidation Trustee

        6.      One of the purposes of the Liquidation Trust is to marshal, liquidate, and sell

 Trust Assets (as defined in the Trust Agreement). See Trust Agreement § 2.3(a).

        7.      The Liquidation Trustee is expressly empowered “to manage, liquidate, sell,

 assign, transfer, or deal in any other manner with the Trust Assets or any part thereof or any

 interest therein, and to sell and dispose of the Trust Assets for cash or upon such terms and for

 such consideration as the Trustee deems proper in its discretion.” See id. at § 4.4(vi).

        8.      Unless otherwise specified in the Plan or the Trust Agreement, the Liquidation

 Trustee “need not obtain the order or approval of the Bankruptcy Court in the exercise of any

 power, rights, or discretion conferred” pursuant to the Trust Agreement. See id. at § 4.3(a).




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           9.      In his discretion and judgment, the Liquidation Trustee may, however, seek

 explicit approval of the Bankruptcy Court of proposed action to be taken by the Liquidation

 Trustee with regard to the Trust Assets. See id. at § 4.3(b). Indeed, the Trust Agreement

 specifically grants the Liquidation Trustee “the power and authority to seek Bankruptcy Court

 approval to sell any Trust Asset . . ..” See id. at § 4.3(d) (emphasis added).

           10.     The Trust Agreement is explicit that the Liquidation Trustee has no implied

 obligations. See Trust Agreement § 5.6.

           11.     Based on the foregoing, the Court previously entered an order stating that the

 “Plan and Trust Agreement do not require the Liquidation Trustee to obtain the Court’s

 approval” of a sale. See In re Sea Island Co., Case No. 10-21034, Bankr. Docket No. 1594, at

 *1 (Bankr. S.D. Ga. July 27, 2016)1 (B.J., Dalis) (emphasis added).

                                 The Background as to the Proposed Sale

           12.     The Turk Property (as defined in the Sale Agreement, which is defined below) is

 an unimproved marsh-front parcel of real property. Pictures are attached as Exhibits “A-1”

 through “A-4,” and a survey of the property is attached to the deed, which is attached to the Sale

 Agreement. Cottage 429, LLC (the “Buyer”) has made various representations and warranties

 regarding access to the Turk Property and its suitability for development. See Sale Agreement ¶

 f.

           13.     As background, the Buyer initially approached the Liquidation Trustee about

 buying the Turk Property. While the Liquidation Trustee has not subsequently marketed the

 Turk Property, he talked to a real estate developer about purchasing it. At first, the developer

 was very interested in the property. After the developer’s lawyer—who practices at a prominent

 1
      Such order was entered on negative notice, and no parties filed an objection to it.

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 Atlanta law firm—started conducting due diligence, however, such developer’s enthusiasm

 waned considerably. The developer advised the Liquidation Trustee that he is only interested in

 the Turk Property if the deal with the Buyer falls through.

        14.     The Buyer has also made a representation and warranty that it owns an adjoining

 lot.2 See id. at ¶ f. Upon information and belief, the Buyer wishes to buy the Turk Property to

 reduce the chance that it is developed thereby potentially obstructing the view of the marsh from

 its property.3 Based on the foregoing, in an exercise of his business judgment, the Liquidation

 Trustee has decided to go forward with the sale of the Turk Property to the Buyer without

 marketing the property or conducting any further due diligence.

                                     THE PROPOSED SALE

        15.     Pursuant to the letter agreement attached as Exhibit “B” (the “Sale Agreement”),4

 the Buyer has agreed to buy, and the Liquidation Trustee has agreed to quitclaim, any interest of

 the Liquidation Trust in the Turk Property with no representations or warranties whatsoever on

 an “as is,” “where is,” and “with all faults” basis in exchange for the payment of $66,000.00 (the

 “Payment”) to the Liquidation Trustee (collectively, the “Sale”). See Sale Agreement ¶ a.

        16.     On September __, 2017, the Sale Agreement was executed by the Buyer and—

 consistent with paragraph b of the Sale Agreement—the Buyer wired $66,000.00 of readily

 available funds to an account of the Liquidation Trustee. See Sale Agreement ¶ b.

        17.     Upon the Approval Order (as defined in the Sale Agreement) becoming a Final

 Order (as defined in the Plan), the Liquidation Trustee shall be immediately entitled to retain the



 2
    Such lot is depicted in Exhibit “A-1.”
 3
    The view from such adjoining lot is set forth in Exhibit “A-4.”
 4
   The description of the Sale Agreement contained in this Motion is a summary. In all events,
 the terms set forth in the Sale Agreement shall control.

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 Payment in the amount of $66,000.00 on an irrevocable, unavoidable basis without the need for

 any further order by the Bankruptcy Court or action by any other person. See Sale Agreement ¶

 c.

                                      RELIEF REQUESTED

        18.     The Liquidation Trustee requests that the Court enter an order approving the Sale

 and the Sale Agreement in substantially the same form as the proposed order attached as Exhibit

 “B.”

                               BASES FOR RELIEF REQUESTED

        19.     Section 363(b)(1) of the Bankruptcy Code provides that, after notice and a

 hearing, a trustee may sell property of the estate outside of the ordinary course of business. See

 11 U.S.C. § 363(b)(1).      In this district, the issue is whether the “[t]rustee exercised sound

 business judgment, as determined by his articulation of a good-faith basis for recommending the

 sale for the price offered and by his employment of adequate procedures in procuring the offer . .

 ..” See In re Stuart, No. 02-43724, 2003 WL 26099304, at *2 (Bankr. S.D. Ga. May 2, 2003)

 (approving trustee’s sale of real property).

        20.     This inquiry essentially amounts to a “business judgment test,” see In re Tom's

 Foods, Inc., No. 05-40683 RFH, 2005 WL 3022022, at *2 (Bankr. M.D. Ga. Sept. 23, 2005)5,

 with a trustee’s “judgment on the sale and the procedure for the sale” being “entitled to respect

 and deference from the Court, so long as the burden of giving sound business reasons is met,”

 see Stuart, 2003 WL 26099304, at *3; see also In re Diplomat Construction, Inc. 461 B.R. 215,

 219 (Bankr. N.D. Ga. 2012) (recognizing that trustee’s judgment on sale was “entitled to respect


 5 See In re Bryan, No. 12-31486, 2013 WL 4716194, *2 (Bankr. M.D. Ala. Sep. 3, 2013) (“The
 trustee’s sale of estate property, and this his acceptance of any bid, is governed by the business
 judgment rule.”).

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 and deference from the Court” and approving sale); In re Gulf States Steel Inc. of Ala., 285 B.R.

 497, 514 (Bankr. N.D. Ala. 2002) (same).

        21.     Deference is even more appropriate here given that the Trust Agreement provides

 for such deference. Specifically, it expressly empowers the Liquidation Trustee to “sell and

 dispose of the Trust Assets for cash or upon such terms and for such consideration as the Trustee

 deems proper in its discretion.” See Trust Agreement § 4.4(vi) (emphasis added). Indeed, as the

 Court previously ruled, the Liquidation Trustee does not need to obtain court approval to sell the

 property. See Motion ¶11.

        22.     In an exercise of his business judgment, the Liquidation Trustee believes that the

 Sale is in the best interests of the Liquidation Trust and the Beneficiaries (as that term is defined

 in the Trust Agreement). While the Liquidation Trustee contends that the Turk Property could

 be very valuable, there is, among other things, a thin market for such property.

        23.     Under the circumstances, the Liquidation Trustee submits that the Approval Order

 should be entered on negative notice. Sales outside of the ordinary course of business generally

 require “notice and a hearing.” See 11 U.S.C. § 363(b)(1). “But Bankruptcy Code § 102 defines

 ‘notice and a hearing’ as authorizing an act without a hearing as long as notice is given and no

 party in interest requests a hearing.” In re Stanton, Case No. 8:11-bk-22675, 2017 WL 587983,

 *4 (Bankr. M.D. Fla. Feb. 2, 2017).6 And granting the requested relief on negative notice here is

 appropriate given that, as the Court has previously recognized, court approval is not even




 6
   See also Roberts v. Pierce (In re Pierce), 435 F.3d 891, 892 (8th Cir. 2006) (discussing 11
 U.S.C. § 102(1)(B)(i) and concluding: “[n]egative notices are therefore authorized by the
 Code.”) (citation omitted); Morlan v. Universal Guar. Life Ins. Co., 298 F.3d 609, 617-8 (7th
 Cir. 2002) (“A requirement of ‘notice and a hearing’ really means notice and the opportunity for
 a hearing.”) (emphasis in the original).

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 required,7 the potential for avoiding the cost and expense of a hearing8 (especially given the

 relatively small amount of money involved in the sale), and the deferential standard for

 approving the sale.9 And it is entirely consistent with how the Court has granted all of the sale

 motions in the past.10 See In re Sea Island Co., Case No. 10-21034, Bankr. Docket No. 1675

 (Bankr. S.D. Ga. Sep. 26, 2016); In re Sea Island Co., Case No. 10-21034, Bankr. Docket Nos.

 1674-1 (Bankr. S.D. Ga. Sep. 26, 2016); In re Sea Island Co., Case No. 10-21034, Bankr.

 Docket No. 1594 (Bankr. S.D. Ga. July 27, 2016).




                           [remainder of page intentionally left blank]




 7
    See Motion ¶ 11.
 8
    See Fed. R. Bankr. P. 1001 (“These rules shall be construed to secure the just, speedy, and
 inexpensive determination of every case and proceeding.”) (emphasis added).
 9
    See Motion ¶¶ 19-21.
 10
     It is also consistent with how the Court has granted settlement motions. See In re Sea Island
 Co., Case No. 10-21034, Bankr. Docket No. 1484 (Bankr. S.D. Ga. Jan. 28, 2016).

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        WHEREFORE, Robert H. Barnett as the Liquidation Trustee respectfully requests that

 the Court enter an order substantially in the form attached as Exhibit “B” and grant such other

 and further relief as the Court may deem just and proper.

 Dated: September __, 2017.



                                              Robert M.D. Mercer
                                              Georgia Bar No. 502317
                                              SCHULTEN WARD TURNER & WEISS LLP
                                              260 Peachtree Street, Suite 2700
                                              Atlanta, Georgia 30303
                                              (404) 688-6800 Telephone
                                              (404) 688-6840 Facsimile

                                              Counsel for Robert H. Barnett as the
                                              Liquidation Trustee under the Sea Island
                                              Company Creditors Liquidation Trust




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                                 EXHIBIT “A”




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                                EXHIBIT “A-1”




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                                EXHIBIT “A-2”




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                                EXHIBIT “A-3”




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                                EXHIBIT “A-4”




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                                 EXHIBIT “B”




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA

 In re:                                      )
                                             )       Chapter 11
 SEA ISLAND COMPANY, et al.,                 )
                                             )       Case No. 10-21034 - MJK
                                             )       Jointly Administered
                Debtors.                     )
                                             )       Judge Michele J. Kim
                                             )

          ORDER GRANTING, SUBJECT TO OBJECTION ON THE TERMS SET
               FORTH BELOW, MOTION FOR APPROVAL OF SALE
                OF THE LIQUIDATION TRUST’S INTEREST IN THE
                    TURK PROPERTY TO COTTAGE 429, LLC

          This matter came before the Court upon the Motion for Approval of Sale of the

 Liquidation Trust’s Interest in the Turk Property to Cottage 429, LLC [Bankr. Docket No. __ ]

 (the “Motion”).1 As indicated by the signature of its counsel below, Cottage 429, LLC (the

 “Buyer”) consents to the relief granted below and agrees that this Order constitutes an “Approval

 Order” for purposes of the Sale Agreement.       Finding that cause exists to grant the relief

 requested, it is hereby:

          ORDERED, ADJUDGED AND DECREED that the Motion is GRANTED as set forth

 below; and it is

          FURTHER ORDERED that the Sale Agreement, a copy of which is attached as

 Exhibit “A” to the Motion, and all of the terms of the Sale Agreement are hereby approved

 and incorporated in this Order by reference and the Sale is authorized in all respects,

 subject only to a party in interest with standing filing a written objection with the Court on

 or before noon on _______________________ (the “Objection Deadline”); and it is



 1
    Capitalized, but undefined, terms used in this Order have the meaning ascribed to such terms
 in the Motion.


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         FURTHER ORDERED that, if a timely written objection is filed with the Court by

 a party in interest with standing, the Court shall hold a hearing at __:__ _.m. on ______ __,

 2017, at U.S. Courthouse, 801 Gloucester Street, Third Floor, Brunswick, Georgia 31520,

 (the “Hearing”), and the Court shall consider at the Hearing whether to approve the Sale

 and grant the other relief set forth in this Order; and it is

         FURTHER ORDERED that, unless a written objection filed by a party with standing

 appears on the docket of the Clerk of Court (as reflected on Pacer) by the Objection Deadline,

 the relief granted in this Order shall become immediately enforceable without any further order

 of the Court or action by any party; and it is

         FURTHER ORDERED that the Turk Property (as that term is defined in the Sale

 Agreement) shall consist of no more than 34,000 square feet of real property;2 and it is

         FURTHER ORDERED that any party filing an objection to the Motion shall set forth the

 legal and factual bases for the objection and shall identify by schedule (or proof of claim)

 number, the amount, and the bases for the claim(s) upon which it asserts standing; and it is

         FURTHER ORDERED that only the Beneficiaries of the Liquidation Trust and the

 United States Trustee shall have standing to file an objection; and it is

         FURTHER ORDERED that in accordance with the terms of the Sale Agreement, the

 Liquidation Trustee shall hereby be entitled to the Payment on an irrevocable, unavoidable basis;

 and it is

         FURTHER ORDERED that in no event shall the Sale or any matter or event authorized

 under, contemplated by, or leading up to the entry of this Order or the execution of the Sale

 Agreement result in any liability to, any obligation for, or Trust Cost (as that term is defined in


 2
   The Plat incorporated into the Quitclaim Deed (as defined below) states the Turk Property is
 comprised of 31,384 square feet of real property.

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 the Trust Agreement) for the Liquidation Trust or the Liquidation Trustee other than the

 obligation to execute a deed conveying the Turk Property in substantially the same form as the

 quitclaim deed attached as an exhibit to the Sale Agreement (the “Quitclaim Deed”); and it is

         FURTHER ORDERED that when the Order becomes a Final Order, the Liquidation

 Trustee shall promptly execute and deliver the Quitclaim Deed to the Buyer; and it is

         FURTHER ORDERED that the Clerk of the Superior Court in Glynn County, Georgia is

 hereby ordered to accept this Order for filing in the Clerk’s real property records, and this Order

 may be recorded in such real property records and shall be deemed to be in recordable form; and

 it is

         FURTHER ORDERED that—in the event that the Court must construe the Order—the

 parties do not intend for there to be any—and there shall be no—presumption against the drafter;

 and it is

         FURTHER ORDERED that any Federal Rule of Bankruptcy Procedure to the contrary

 notwithstanding, the Order shall be immediately enforceable as set forth above; and it is

         FURTHER ORDERED that the Court hereby retains exclusive venue and jurisdiction to

 hear and determine all matters arising from or related to one or more of the following: the

 implementation, interpretation, and enforcement of the Sale Agreement or this Order; and it is




                          [remainder of the page intentionally left blank]




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        FURTHER ORDERED that pursuant to ECF Local Rule 9, the Electronic Case File

 notice automatically sent to attorneys who have filed a pleading in these cases shall constitute

 service on such attorneys and their clients of the Motion and this Order. No other or further

 notice or service of the Motion or this Order shall be required.

 SO ORDERED this ____ day of _________________, 2017.
 Brunswick, Georgia


                                               MICHELE J. KIM
                                               UNITED STATES BANKRUPTCY JUDGE




 Prepared and presented by:                             Consented to by:




 Robert M.D. Mercer                                     David W. Cranshaw
 Georgia Bar No. 502317                                 Georgia Bar No. 193450
 SCHULTEN WARD TURNER & WEISS LLP                       Morris, Manning & Martin, LLP
 260 Peachtree Street, Suite 2700                       1600 Atlanta Financial Center
 Atlanta, Georgia 30303                                 3343 Peachtree Road, NE
 (404) 688-6800 Telephone                               Atlanta, Georgia 30326
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                                                        (404) 365-9532 Facsimile
 Counsel for Robert H. Barnett as the
 Liquidation Trustee under the Sea Island               Counsel for Cottage 429, LLC
 Company Creditors Liquidation Trust




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                                 EXHIBIT “3”




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                              (Above this Line Reserved for Recording Official)

 After recording return to:

 David W. Cranshaw, Esq.
 Morris, Manning & Martin, LLP
 1600 Atlanta Financial Center
 3343 Peachtree Road, NE
 Atlanta, GA 30326, USA


 STATE OF GEORGIA

 COUNTY OF GLYNN



                                        QUITCLAIM DEED

      THIS INDENTURE, made this __ day of September, 2017, between ROBERT H.

 BARNETT AS LIQUIDATION TRUSTEE UNDER THE SEA ISLAND COMPANY

 CREDITORS’ LIQUIDATION TRUST, First Party, and COTTAGE 429, LLC, a Georgia

 limited liability company, Second Party.


      WHEREAS, Sea Island Company (“SIC”) filed a Voluntary Petition under Chapter 11 of

 the Bankruptcy Code in the United States Bankruptcy Court, Southern District of Georgia, on

 August 10, 2010 in the case styled Sea Island Company, et al, Debtors, Chapter 11, Case No.

 10-21034-JSD, in the United States Bankruptcy Court, Southern District of Georgia (the



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 “Bankruptcy Case”) and on November 8, 2010 SIC’s Chapter 11 Plan was confirmed pursuant to

 a Confirmation Order (the “Confirmation Order”); and


     WHEREAS, pursuant to the Confirmation Order, the Debtors under the Bankruptcy Case

 and Sea Island Acquisition, LLC (“SIA”) entered into an Asset Purchase Agreement (“APA”)

 dated October 19, 2010, and SIA ultimately purchased substantially—but not all—of the assets of

 SIC; and


     WHEREAS, pursuant to the APA, SIC executed a deed (the “APA Deed”) in favor of SIA

 whereby SIC conveyed to SIA all of its right, title and interest in various real estate parcels

 subject to the APA, but specifically excepting from the APA Deed certain real estate parcels

 (including the below-described parcel; hereinafter the “Premises”), which SIC reserved unto itself,

 including parcels which SIC stated in the APA Deed were subject to prescriptive rights of third

 parties; and


     WHEREAS, First Party claims title to the Premises is an asset of the Sea Island Company

 Creditors’ Liquidation Trust (the “Liquidation Trust”); and


     WHEREAS, Second Party claims prescriptive title to the Premises; and


     WHEREAS, First Party and Second Party have, in good faith, entered into a letter

 agreement for sale by First Party of all its right, title and interest in the Premises to Second Party

 (the “Sale Agreement”); and


     WHEREAS, on ____________, 2017, First Party filed a Motion for Approval of Sale of the

 Liquidation Trust’s Interest in the Turk Property to Cottage 429, LLC [Doc. No. _____] (the



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 “Sale Motion”) in the Bankruptcy Case (i) requesting approval of the Sale Agreement, and (ii)

 seeking authorization for First Party to convey to Second Party, pursuant to a quit claim deed in

 form substantially similar in all material respects to this Indenture, all of its right, title and interest

 in the Premises; and


      WHEREAS, an order granting the Sale Motion [Doc. No. _____] was entered in the

 Bankruptcy Case on _____________, 2017 and pursuant thereto, no objections having been filed,

 and in consideration of the amount to be paid by Second Party to the First Party under the terms

 of the Sale Agreement, First Party is executing this Quitclaim Deed in favor of the Second Party.


                                             WITNESSETH:


      That First Party, for and in consideration of the sum of Ten Dollars ($10.00), in hand paid,

 the receipt of which is hereby acknowledged, by these presents does remise, release, and quit

 claim to Second Party, its successors and assigns, all the right, title, interest, claim or demand the

 said First Party has or may have had in and to the Premises, including, but not limited to, all rights

 the First Party may have as Liquidation Trustee Under the Liquidation Trust and all rights of the

 Liquidation Trust, from the beginning of time and including perpetuity, with all and singular the

 rights, members and appurtenances to the said First Party in any wise appertaining or belonging,

 which Premises are described as follows:


  SEE EXHIBIT “A” ATTACHED HERETO AND INCORPORATED HEREIN BY THIS

                                              REFERENCE.


      TO HAVE AND TO HOLD the said Premises to the said Second Party so that neither the

 said First Party nor its successors and assigns, nor any other person or persons claiming under the


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 First Party, shall at any time, by any means, or ways, claim or demand any right, title to the

 Premises or its appurtenances, or any rights thereof.


     IN WITNESS WHEREOF, First Party has hereunto set its hand and affixed its seal, by and

 through its duly authorized officers, on the day and year first above written.


                                                         FIRST PARTY:


 Signed and sealed before me                       ROBERT H. BARNETT, LIQUIDATION
 this ____ day of _______, 2017                    TRUSTEE UNDER THE SEA ISLAND
                                                   COMPANY CREDITORS’ LIQUIDATION
                                                   TRUST

 _____________________________                     By:___________________________
 Witness                                           Name: Robert H. Barnett,
                                                          not individually, but as the Liquidation
                                                         Trustee

 ____________________________
 Notary Public
 My Commission Expires:


 NOTARIAL SEAL




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                                         EXHIBIT “A”


 ALL THAT TRACT OR PARCEL OF land lying and being on Sea Island, Glynn County,
 Georgia, and being shown as “Additional Property (Area – 31,384 sq. ft.)” by that certain Plat of
 Survey for “Cottage 429, LLC”, prepared by Shupe Surveying Company, sealed by Gary R.
 Nevill, Georgia RLS No. 2401, which plat is attached hereto and is incorporated herein by this
 reference for all purposes (the “Cottage 429 Survey”), and being more particularly described as
 follows:

 TO LOCATE THE TRUE POINT OF BEGINNING, commence at a ½ inch iron rebar
 located at a point on the northern right of way of Cook Avenue (a 50’ private right of way) where
 the line dividing Lots 3 and 4, Block 96, of Sea Island Subdivision No. 1, Extension No. 1, which
 point is a distance of 533.64’ west, as measured along the northern right of way of Cook Avenue,
 from where same intersects the western right of way of Oglethorpe Drive; continuing thence
 along the right of way of Cook Avenue North 59°57'00" West a distance of 24.36 feet to a ½ inch
 iron rebar found at the northeast corner of the former Cook Avenue property conveyed by Sea
 Island Company to L. Newton Turk, III, and Martha B. Turk, by Deed dated December 11, 2006,
 recorded at Deed Book 2114, page 65, Glynn County Records; thence running South 18°03'00"
 West a distance of 25.56 feet to a ½ inch CIRF located on the center line of said former Cook
 Avenue right of way; thence running North 59°57'00" West a distance of 175.03 feet along the
 center line of the former Cook Avenue right-of-way to a ½ inch iron rebar found at THE TRUE
 POINT OF BEGINNING; FROM SAID TRUE POINT OF BEGINNING, running thence
 along property labeled “Marsh” of now or formerly “SIA Propco II, LLC”, the following calls and
 distances: North 59°57'00" West a distance of 20.82 feet to a ½ inch CIRF found (which point
 marks the beginning of the CMPA jurisdiction line per the Cottage 429 Survey referenced
 above); running thence North 02°30'56" East a distance of 16.78 feet to a ½ inch CIRF found
 running thence South 81°16'10" West a distance of 34.69 feet to a ½ inch CIRF found; running
 thence North 53°03'29" West a distance of 20.68 feet to a ½ inch CIRF found; running thence
 South 78°27'34" West a distance of 10.71 feet to a ½ inch CIRF found; running thence North
 28°37'02" West a distance of 21.03 feet to a ½ inch CIRF found; running thence North 32°55'45"
 West a distance of 37.38 feet to a ½ inch CIRF found; running thence North 30°03'00" West a

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 distance of 44.94 feet to a ½ inch CIRF found; running thence North 41°55'48" West a distance
 of 42.20 feet to a ½ inch CIRF found; running thence North 33°56'13" West a distance of 46.61
 feet to a ½ inch CIRF found; running thence North 64°07'19" West a distance of 10.18 feet to a
 ½ inch CIRF found; running thence North 10°20'55" West a distance of 43.02 feet to a ½ inch
 CIRF found; running thence North 29°00'08" West a distance of 25.32 feet to a ½ inch CIRF
 found; running thence North 55°08'03" East a distance of 14.10 feet to a ½ inch CIRF found;
 running thence South 75°52'56" East a distance of 12.85 feet to a ½ inch CIRF found; running
 thence South 39°04'04" East a distance of 21.99 feet to a ½ inch CIRF found; running thence
 South 45°09'50" East a distance of 30.61 feet to a ½ inch CIRF found; running thence South
 67°53'29" East a distance of 33.73 feet to a ½ inch CIRF found; running thence South 78°20'17"
 East a distance of 75.23 feet to a ½ inch CIRF found; running thence South 75°04'07" East a
 distance of 26.10 feet to a ½ inch CIRF found; running thence South 79°48'37" East a distance of
 30.62 feet to a ½ inch CIRF found; running thence North 85°24'37" East a distance of 8.00 feet
 to a ½ inch CIRF found (which point marks the end of the CMPA jurisdiction line per the
 Cottage 429 Survey referenced above), running thence South 64°22'00" East a distance of 45.93
 feet to a ½ inch iron rebar found at the northwest corner of the property known as Lot 4, Block
 96, of Sea Island Subdivision No. 1, Extension No. 1; thence running South 18°03'00" West along
 the western line of said Lot 4, Block 96 a distance of 175.56 feet to ½ inch iron rebar found at
 THE TRUE POINT OF BEGINNING.
 The above described Additional Property being as more fully shown by that certain Plat of
 Survey, having a completion date of September 7, 2016, for “Cottage 429, LLC”, prepared by
 Shupe Surveying Company, sealed by Gary R. Nevill, Georgia RLS No. 2401, which plat is
 attached hereto and is incorporated herein by this reference for all purposes (the “Cottage 429
 Survey”).




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                                 EXHIBIT “C”




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA

 In re:                                      )
                                             )       Chapter 11
 SEA ISLAND COMPANY, et al.,                 )
                                             )       Case No. 10-21034 - MJK
                                             )       Jointly Administered
                Debtors.                     )
                                             )       Judge Michele J. Kim
                                             )

          ORDER GRANTING, SUBJECT TO OBJECTION ON THE TERMS SET
               FORTH BELOW, MOTION FOR APPROVAL OF SALE
                OF THE LIQUIDATION TRUST’S INTEREST IN THE
                    TURK PROPERTY TO COTTAGE 429, LLC

          This matter came before the Court upon the Motion for Approval of Sale of the

 Liquidation Trust’s Interest in the Turk Property to Cottage 429, LLC [Bankr. Docket No. __ ]

 (the “Motion”).1 As indicated by the signature of its counsel below, Cottage 429, LLC (the

 “Buyer”) consents to the relief granted below and agrees that this Order constitutes an “Approval

 Order” for purposes of the Sale Agreement.       Finding that cause exists to grant the relief

 requested, it is hereby:

          ORDERED, ADJUDGED AND DECREED that the Motion is GRANTED as set forth

 below; and it is

          FURTHER ORDERED that the Sale Agreement, a copy of which is attached as

 Exhibit “A” to the Motion, and all of the terms of the Sale Agreement are hereby approved

 and incorporated in this Order by reference and the Sale is authorized in all respects,

 subject only to a party in interest with standing filing a written objection with the Court on

 or before noon on _______________________ (the “Objection Deadline”); and it is



 1
    Capitalized, but undefined, terms used in this Order have the meaning ascribed to such terms
 in the Motion.


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         FURTHER ORDERED that, if a timely written objection is filed with the Court by

 a party in interest with standing, the Court shall hold a hearing at __:__ _.m. on ______ __,

 2017, at U.S. Courthouse, 801 Gloucester Street, Third Floor, Brunswick, Georgia 31520,

 (the “Hearing”), and the Court shall consider at the Hearing whether to approve the Sale

 and grant the other relief set forth in this Order; and it is

         FURTHER ORDERED that, unless a written objection filed by a party with standing

 appears on the docket of the Clerk of Court (as reflected on Pacer) by the Objection Deadline,

 the relief granted in this Order shall become immediately enforceable without any further order

 of the Court or action by any party; and it is

         FURTHER ORDERED that the Turk Property (as that term is defined in the Sale

 Agreement) shall consist of no more than 34,000 square feet of real property;2 and it is

         FURTHER ORDERED that any party filing an objection to the Motion shall set forth the

 legal and factual bases for the objection and shall identify by schedule (or proof of claim)

 number, the amount, and the bases for the claim(s) upon which it asserts standing; and it is

         FURTHER ORDERED that only the Beneficiaries of the Liquidation Trust and the

 United States Trustee shall have standing to file an objection; and it is

         FURTHER ORDERED that in accordance with the terms of the Sale Agreement, the

 Liquidation Trustee shall hereby be entitled to the Payment on an irrevocable, unavoidable basis;

 and it is

         FURTHER ORDERED that in no event shall the Sale or any matter or event authorized

 under, contemplated by, or leading up to the entry of this Order or the execution of the Sale

 Agreement result in any liability to, any obligation for, or Trust Cost (as that term is defined in


 2
   The Plat incorporated into the Quitclaim Deed (as defined below) states the Turk Property is
 comprised of 31,384 square feet of real property.

                                                   2
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 the Trust Agreement) for the Liquidation Trust or the Liquidation Trustee other than the

 obligation to execute a deed conveying the Turk Property in substantially the same form as the

 quitclaim deed attached as an exhibit to the Sale Agreement (the “Quitclaim Deed”); and it is

         FURTHER ORDERED that when the Order becomes a Final Order, the Liquidation

 Trustee shall promptly execute and deliver the Quitclaim Deed to the Buyer; and it is

         FURTHER ORDERED that the Clerk of the Superior Court in Glynn County, Georgia is

 hereby ordered to accept this Order for filing in the Clerk’s real property records, and this Order

 may be recorded in such real property records and shall be deemed to be in recordable form; and

 it is

         FURTHER ORDERED that—in the event that the Court must construe the Order—the

 parties do not intend for there to be any—and there shall be no—presumption against the drafter;

 and it is

         FURTHER ORDERED that any Federal Rule of Bankruptcy Procedure to the contrary

 notwithstanding, the Order shall be immediately enforceable as set forth above; and it is

         FURTHER ORDERED that the Court hereby retains exclusive venue and jurisdiction to

 hear and determine all matters arising from or related to one or more of the following: the

 implementation, interpretation, and enforcement of the Sale Agreement or this Order; and it is




                          [remainder of the page intentionally left blank]




                                                 3
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        FURTHER ORDERED that pursuant to ECF Local Rule 9, the Electronic Case File

 notice automatically sent to attorneys who have filed a pleading in these cases shall constitute

 service on such attorneys and their clients of the Motion and this Order. No other or further

 notice or service of the Motion or this Order shall be required.

 SO ORDERED this ____ day of _________________, 2017.
 Brunswick, Georgia


                                               MICHELE J. KIM
                                               UNITED STATES BANKRUPTCY JUDGE




 Prepared and presented by:                             Consented to by:



        /s/ Robert M.D. Mercer                                 /s/ David W. Cranshaw
 Robert M.D. Mercer                                     David W. Cranshaw
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 Counsel for Robert H. Barnett as the
 Liquidation Trustee under the Sea Island               Counsel for Cottage 429, LLC
 Company Creditors Liquidation Trust




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